                  Case 1-19-40173-ess                  Doc 34         Filed 10/11/19   Entered 10/11/19 13:25:52



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  October 11, 2019

  Hon. Elizabeth S. Stong
  U.S. Bankruptcy Court
  Eastern District of New York
  Conrad B. Duberstein Courthouse
  271-C Cadman Plaza East - Suite 1595
  Brooklyn, NY 11201-1800

          Re:                  Edith Astudillo
          Case#:               19-40173
          File:                35025

  Dear Honorable Elizabeth S. Stong:

  Our office represents, Rushmore Loan Management Services, LLC, in the above referenced matter. Please allow this
  letter to serve as a status update on the pending Loss Mitigation. As of today, our office has not received a financial
  package for review.

  In order for Rushmore Loan Management Services, LLC to review for any loss mitigation options they require the
  following:

      1. A brief letter outlining the events that led to your current hardship, any proof documenting it, and your
         intentions toward the property.
      2. Pay stubs for each borrower for the last month.
      3. Copies of your most recent bank statements for each bank account for the last month.
      4. The most recent year’s tax return, all schedules and W2’s.
      5. Most recent statement for any 401K, IRA, mutual funds etc.
      6. Interior BPO will be required – please provide a point of contact to schedule
      7. Completed Financial package attached.

  Thank you.

  Very Truly Yours,
  /S/Ted Eric May, Esq.
  Ted Eric May, Esq.

  TEM;ks




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